Case 2:11-cv-03582-GW-SS Document 88-6 Filed 05/03/13 Page 1 of 8 Page ID #:2244




                                 Exhibit


                                     30
      Case 2:11-cv-03582-GW-SS Document 88-6 Filed 05/03/13 Page 2 of 8 Page ID #:2245


      REQUESTED BY-:          MANZANARES, ROBERTO
                                     O F F I C I A L               USE              ONLY
            DEPARTMENT OF HOMELAND SECURITY •                                       TECS ACCESS CODE 3
                           'ICE
                                                                                    PAGE   1
   REPO'RT              OF      I N V E S T I G A T I O N                   -

                                                                                    CASE NUMBER MI02PR07MI0018

     TITLE:,-TEODORO NGUEMA OBIANG, ET. AL OFFICIALS EQUATORIAL GUINEA

     CASE STATUS:              INTERIM RPT

     REPORT DATE                  'DATE ASSIGNED                    PROGRAM CODE                     REPORT NO.
       110711 .                        111506 .                         2FJ                             071

       RELATED CASE NUMBERS:

       COLLATERAL REQ

       TYPE OF REPORT:
     I N I T I A L SOURCE DOCUMENT/           INVESTIGATIVE FINDINGS


TOPIC: INTERVIEW OF

         SYNOPSIS:                               .                                             • .
 On November 13, 2 0 06, Agents' a s s i g n e d t o t h e Homeland S e c u r i t y I n v e s t i g a t i o n
  (HSI) F o r e i g n C o r r u p t i o n I n v e s t i g a t i o n s Group i n i t i a t e d an i n v e s t g a t i o n
 r e g a r d i n g t h e 1 a c t i v i t i e s o f M i n i s t e r Teodoro Nguema OBIANG ( M i n i s t e r
 OBIANG). I t ' s - a l l e g e d t h a t M i n i s t e r OBIANG i s d i v e r t i n g funds a l l o c a t e d t o
I t h e government o f E q u a t o r i a l Guinea (EG) f o r h i s own p e r s o n a l use. M i n i s t e r
] OBIANG i s c u r r e n t l y t h e M i n i s t e r o f A g r i c u l t u r e and F o r e s t r y i n EG and i s " t h e
 son o f the d i c t a t o r .
 H S I i s i n v e s t i g a t i n g - M i n i s t e r OBIANG f o r money l a u n d e r i n g . OBIANG p u r c h a s e d a
 B e v e r l y H i l l s mansion v a l u e d at-$32 m i l l i o n d o l l a r s d e s p i t e h a v i n g a r e p o r t e d
 government s a l a r y o f $60, 000 a n n u a l l y . A d d i t i o n a l l y , he purchased a_
 G u l f s t r e a m a i r c r a f t f o r $35 m i l l i o n d o l l a r s . , October 6, 2 0 1 1 ,
 was i n t e r v i e w e d t e l e p h o n i c a l l y b y HSI agent Robert Manzanares an&TJTS.
••Department o f J u s t i c e , C r i m i n a l D i v i s i o n Asset F o r f e i t u r e & Money L a u n d e r i n g
 a t t o r n e y , Woo Lee                                  .

     DISTRIBUTION:                           SIGNATURE:
 SACMI                                     MANZANARES               ROBERTO                SPECIAL'AGENT

                                             APPROVED:                          ;

                                           RUTHERFORD               ROBERT             N   OI GRP SUPERVISOR



                                             ORIGIN OFFICE: 'MI                       TELEPHONE: 305 597 6000
                                           MIAMI, FL - SAC
                                                       TYPIST: MANZANARES
 ;                           O F F I C I A L  USE     ONLY
 THIS DOCUMENT I S LOANED TO YOU FOR OFFICIAL USE ONLY AND REMAINS THE PROPERTY
.OF THE DEPARTMENT OF HOMELAND SECURITY, ICE. ANY FURTHER REQUEST FOR
 DISCLOSURE OF THIS DOCUMENT OR INFORMATION CONTAINED HEREIN SHOULD BE REFERRED
 TO ICE HEADQUARTERS TOGETHER WITH A COPY OF THE DOCUMENT.
                                                                                                     DOJ 0009207
       Case 2:11-cv-03582-GW-SS Document 88-6 Filed 05/03/13 Page 3 of 8 Page ID #:2246


                               O F F I C I A L   U S E    O N L Y

           DEPARTMENT OF HOMELAND SECURITY                PAGE
                          ICE
                                                          CASE NUMBER M I 0 2 P R 0 7 M I 0 0 1 8
    • R E P O R T   O F    I N V E S T I G A T I O N
                 C O N T I N U A T I O N                  REPORT NUMBER; 0 7 1


CASE PROGRAM CODES:

"2 PO—SHELL—CORPORATIONS        7HD~POKEIGN"CORRDPTION"




                               O F F I C I A L         U S E   O N L Y
F H I S DOCUMENT I S LOANED TO YOU FOR O F F I C I A L USE ONLY AND REMAINS THE PROPERTY
2>F THE 'DEPARTMENT OF HOMELAND SECURITY, I C E . ANY FURTHER REQUEST FOR
DISCLOSURE OF T H I S DOCUMENT OR INFORMATION CONTAINED HEREIN SHOULD BE REFERRED
  O I C E HEADQUARTERS TOGETHER WITH A'COPY OF THE DOCUMENT.


                                                                               DOJ 0009208
3
       Case 2:11-cv-03582-GW-SS Document 88-6 Filed 05/03/13 Page 4 of 8 Page ID #:2247


                                            O F F I C I A L             USE         O N L Y

              DEPARTMENT OF HOMELAND SECURITY                                        PAGE       3
                             ICE
                                                                                     CASE NUMBER MI02PR07MIO018
    R E P O R T   OF    I N V E . S - I G A T I O N
               C O N T I N U A T I O N                                               REPORT NUMBER: 071

RETAILS OF INVESTIGATION:

©n November 13,_2006,_ Agents a s s i g n e d t o the. Homeland S e c u r i t y I n v e s t i g a t i o n
THS'I) "Foreign.' C o r f up t i o n I n v e s F i g a t i ^                               a criminal "inquiry
r e g a r d i n g t h e f i n a n c i a l a c t i v i t i e s o f M i n i s t e r Teodoro Nguema OBIANG
/ ( M i n i s t e r OBIANG) . I t i s a l l e g e d t h a t M i n i s t e r OBIANG i s d i v e r t i n g funds
a l l o c a t e d t o t h e government o f E q u a t o r i a l Guinea (EG) f o r h i s own p e r s o n a l
u s e . OBIANG i s c u r r e n t l y t h e M i n i s t e r o f A g r i c u l t u r e a n d F o r e s t r y i n EG a n d
i s t h e son o f t h e d i c t a t o r .                              '

HSI i s i n v e s t i g a t i n g M i n i s t e r OBIANG f o r v i o l a t i o n o f money l a u n d e r i n g
S t a t u t e s . OBIANG p u r c h a s e d a B e v e r l y H i l l s mansion v a l u e d a t $32 m i l l i o n
d o l l a r s d e s p i t e h a v i n g a r e p o r t e d government s a l a r y o f $60,000 a n n u a l l y .
A d d i t i o n a l l y , .he p u r c h a s e d a G u l f s t r e a m a i r c r a f t f o r $35 m i l l i o n d o l l a r s .
M i n i s t e r OBIANG a s s e r t s h i s w e a l t h i s t h e r e s u l t o f h i s p r i v a t e b u s i n e s s e s
w h i c h a r e i n v o l v e d i n lumber and r o a d c o n s t r u c t i o n . I n EG o f f i c i a l s a r e
p e r m i t t e d t o engage i n p r i v a t e b u s i n e s s e s and a u t h o r i z e d t o have government
C o n t r a c t s as l o n g a s t h e o f f i c i a l i n v o l v e d isn'-t a c t i v e l y i n v o l v e d i n t h e
5?day t o - d a y " o p e r a t i o n s , o r management o f t h e b u s i n e s s .

On O c t o b e r 18, 2 1 , 26, 2011, ^pw^WW******^" i n t e r v i e w e d t e l e p h o n i c a l l y b y
HSI s p e c i a l a g e n t , R o b e r t Manzanares and U.S. Department o f J u s t i c e , C r i m i n a i
D i v i s i o n A s s e t F o r f e i t u r e & Money L a u n d e r i n g a t t o r n e y , Woo Lee.

A f t e r being a p p r i s e d o f t h e nature o f t h e i n v e s t i g a t i o n ,                      agreed t o be
i n t e r v i e w e d a f t e r j0 c o n s u l t e d w i t h and r e c e i v e d p e r m i s s i o n f r o m   f|§§| f o r m e r
S u p e r v i s o r f r o m t h e I n t e r n a t i o n a l Monetary Fund (IMF) d u r i n g t h e October 18,
2 0 1 1 , i n t e r v i e w . M M expressed h i s concerned t h a t , h e wanted t o ensure t h a t
       was n o t v i o l a t i n g m a t e r i a l aspects o f a c o n f i d e n t i a l l y agreement d u r i n g
t h e t i m e p e r i o d - t h a t fH* engaged §|l_? s e r v i c e s t o t h e IMF. Subsequently, a
 s e c o n d t e l e p h o n i c i n t e r v i e w was c o n t a c t e d on O c t o b e r 2 1 , 2011. BBBBBi was
l a i r e d as a f i s c a l




                related that            has a degree i n Economics and has served as a d e p u t y
 i f i i n i s t e r o f f i n a n c e and a macroeconomics a d v i s o r / g o v e r n o r f o r t h e c e n t r a l

 a d v i s e a ^ d ^ t ^ ^ c h T ^ ^ r l ^ n r i S ^ ^ ^ E G about macroeconomics ., make recommendations
 and r e s p o n d t o p r o j e c t s a s s i g n e d t o BMP by o f t h e M i n i s t e r o f Finance o f EG.
 A l t h o u g hflUwas h i r e d b y t h e IMF, _ B pay was from t h e government o f EG.

          r e l a t e d t h a t a f t e r r e s i d i n g i n EG f o r t h r e e t o f o u r months, noticed
 t h a t most government o f f i c i a l s , as w e l l as t h e EG government i t s e l f , was '

 f      ,                    O F F I C I A L  U. S E  O N L Y
 THIS DOCUMENT I S LOANED TO YOU FOR OFFICIAL USE ONLY AND REMAINS THE PROPERTY
 ©F THE DEPARTMENT OF HOMELAND SECURITY, ICE. ANY FURTHER REQUEST FOR
 DISCLOSURE OF THIS DOCUMENT OR INFORMATION CONTAINED HEREIN -SHOULD BE REFERRED
 SO ICE HEADQUARTERS TOGETHER WITH A COPY OF THE DOCUMENT.
                                                                                                           DOJ 0009209
          Case 2:11-cv-03582-GW-SS Document 88-6 Filed 05/03/13 Page 5 of 8 Page ID #:2248


                                               O F F I C I A L        USE         ONLY

: '        '   DEPARTMENT OF HOMELAND SECURITY                                     PAGE      4
                                       I C E
I.
t                                                                                  CASE NUMBER MI02PR07MI0018
.:       REPO'RT         OF     I N V E S T I G A T I O N
J,                     C O N T I N U A T I O N                                     REPORT NUMBER: 071

 C o n t r o l l e d by one t r i b e ' s namely, The Fangs. ( U n w i t n e s s e d v a r i o u s
 C e l e b r a t i o n s o f t h e t r i b e Fang f a m i l y who were government o f f i c i a l s d u r i n g
 t h e g e n e r a l e l e c t i o n s i n EG. W M _ I r e l a t e d t h a t most s e n i o r government
                _                -                                                                                 _
~6~f f i"C'ia"ls We"re" '"Fang" f a m i l y "member's" and w e l l "organized' .""'These~particular Fang"
 f a m i l y members " a d d r e s s e d 'themselves as " b r o t h e r s " a n d t h o u g h t o f each o t h e r
 as b r o t h e r s . As b r o t h e r s , t h e y were t r e a t e d d i f f e r e n t l y than " o u t s i d e r s " o r
 t h o s e who were n o t members o f t h e FANG. To i l l u s t r a t e t h i s p o i n t , ^mmmm
 i n d i c a t e d t h a t i n 1981, a Fang member was accused o f a t t e m p t i n g t o b r i n g down
 t h e OBIANG regime b u t d e s p i t e h i s wrong d o i n g , and b r i e f i n c a r c e r a t i o n , he
 Vas s u b s e q u e n t l y a p p o i n t e d as M i n i s t e r o f Finance i n EG. flMMft i n d i c a t e d t h a t
   a d t h i s same p e r s o n been an " o u t s i d e r " t h e OBIANG r e g i m e would have k i l l e d
    im.                                             '         '                      '                                  , •
 |he c u r r e n t M i n i s t e r - o f Finance o f EG i s M a r c e l i n o OWONO who was educated i n
 R u s s i a . OWONO b e l i e v e d t h a t an e f f e c t i v e economy w_as one t h a t h a d f i x p r i c e s
  " n a l l goods a n d c e n t r a l i z e d ' s e r v i c e s . These were t h e t y p e o f - p o l i c i e s t h e EG
f   overnment, a c c o r d i n g t o t h i s M i n i s t e r , should be i m p l e m e n t i n g .
 •|n c e n t r a l i z e d , s t a t e - c o n t r o l l e d macro and f i s c a l p o l i c y .
                                                                                                       He b e l i e v e d


 fine o f t h e f i s c a l p o l i c i e s t h a t most t r o u b l e d flHBt was t h a t t h e Government
 6 f EG m a i n t a i n e d m u l t i p l e p u b l i c t r e a s u r y accounts a t one t i m e . S p e c i f i c a l l y , '
 .fhere were 6 g e n e r a l accounts t h a t t h e t r e a s u r y were o p e r a t i n g under a n d 3 o f
 ihhe a c c o u n t s were s o l e l y under P r e s i d e n t OBIANG's p e r s o n a l c o n t r o l .             flMfc
 • p r o v i d e d t h e f o l l o w i n g account numbers 43612, 43614, 43613, 41600,- 41660 and
 |3 603.            F i v e o f t h e s i x accounts were m a i n t a i n e d a t t h e BEAC t h e n a t i o n ' s
 C e n t r a l bank. O t h e r t h a n t h e t h r e e w h i c h were c o n t r o l l e d by t h e P r e s i d e n t ,
 "the o t h e r two were c o n t r o l l e d b y t h e T r e a s u r e r .        Most c o u n t r i e s ' o n l y have one
  p t a t e account a n d have someone from t h e Treasury o r C e n t r a l Bank as t h e
  s i g n a t o r y . The f a c t t h a t t h e P r e s i d e n t served as t h e s o l e s i g n a t o r y o n t h r e e
  Of t h e f i v e BEAC accounts was r e m a r k a b l e .               I n a d d i t i o n , one o f t h e
  P r e s i d e n t ' s BEAC accounts was t h e o i l account, where U.S. o i l companies
  j j e p o s i t e d t h e f u n d s they'owed t o EG p u r s u a n t t o PSCs. T r a n s a c t i o n s r e l a t i n g
                                                                                                           ;
  iio t h i s o i l a c c o u n t were s e c r e t and fl_R__ was n o t ,
  p e r m i t t e d access t o r e c o r d s r e l a t i n g t o how t h e f u n d s i n t h i s account were
  spent.

 |fore t r o u b l i n g , was t h a t one o f t h e 6 accounts c o n t a i n i n g p u b l i c funds was
 d e s i g n a t e d t o a n d c o n t r o l l e d b y t h e M i n i s t e r o f F o r e s t r y ( M i n i s t e r 'OBIANG)
 •finder h i s own name. T h i s account was n o t m a i n t a i n e d a t t h e BEAC. I n s t e a d ,
 i t was i n a p r i v a t e commercial bank.                      This F o r e s t r y Account was c o n t r o l l e d
 l l o l e l y b y M i n i s t e r OBIANG. I t c o n t a i n e d money- c o l l e c t e d by t h e F o r e s t r y
 ijlinistry.         These funds were never p r o v i d e d t o t h e M i n i s t e r o f Finance, n o r
 fere        they deposited, i n the p u b l i c treasury's f i v e accounts maintained a t the.
 BEAC. L i k e t h e o i l account, W H P was never a l l o w e d t o access o r r e v i e w t h e
 b a n k i n g r e c o r d s i n t h i s account. A d d i t i o n a l l y ,                claimed t h a t a l l t h e
 r e v e n u e from EG's t i m b e r and l o g g i n g e x p o r t s was d e p o s i t e d i n t o t h e M i n i s t e r

  S'                          O F F I C I A L  USE      ONLY
  THIS DOCUMENT I S LOANED TO YOU FOR OFFICIAL USE ONLY AND REMAINS THE PROPERTY
  OF THE DEPARTMENT OF HOMELAND SECURITY, ICE. ANY FURTHER REQUEST FOR.
  ijlSCLOSURE OF THIS DOCUMENT OR INFORMATION CONTAINED HEREIN SHOULD BE REFERRED
  ^O ICE HEADQUARTERS TOGETHER WITH A • COPY OF THE ' DOCUMENT .
     M                                                                                                  DOJ_0009210
               Case 2:11-cv-03582-GW-SS Document 88-6 Filed 05/03/13 Page 6 of 8 Page ID #:2249


'                                            O F F I C I A L             USE         ONLY
t                              .                               .     .   .     .
j:                  DEPARTMENT OF HOMELAND SECURITY                                  PAGE       5
                                   ICE
                                                                                     CASE NUMBER MI02PR07MI0018
•             R E P O R T   OF' I N V E S ' T I G A T I O N
I                        C 0 N T I N U A T I 0 N                                     REPORT NUMBER: 071

p f F o r e s t r y a c c o u n t . 4 P M c l a i m s t h a t f _ 8 l d i d n o t know how much was i n t h i s
p a r t i c u l a r a c c o u n t . The p e r s o n who had t h e knowledge and f i n a n c i a l f i g u r e s
r e l a t i n g t o a l l o f the accounts was F l o r e n t i n o ENSES. H — « 4 c l a i m e d t h a t
                                                           _
ENSES"was'"'nb^                                        dr hfbt"he'r".          ' '         '   '

I n a d d i t i o n to' t h e s i x accounts m a i n t a i n e d i n EG ( f i v e accounts a t t h e BEAC
jand t h e F o r e s t r y M i n i s t r y account a t a p r i v a t e bank) , IPBlifW e x p l a i n e d t h a t
P r e s i d e n t OBIANG a l s o m a i n t a i n e d s e v e r a l accounts overseas. There were
a p p r o x i m a t e l y $6 b i l l i o n i n t h e s e overseas accounts. A l l o f t h e overseas
a c c o u n t s were h e l d i n t h e p e r s o n a l name o f P r e s i d e n t OBIANG. He c o n t r o l l e d
a l l o f t h e s e a c c o u n t s and was t h e p r i m a r y s i g n a t o r y on these accounts.
P P _ _ i n s i s t e d t h a t a l l o f t h e s e accounts c o n t a i n e d government money b u t a r e
l i s t e d as i n d i v i d u a l accounts o f t h e P r e s i d e n t . Af t e r _ examining t h e f i s c a l •
p o l i c i e s a n d p r a c t i c e s t h a t were p r e s e n t e d t o *mmami4, ® ® c o n t a c t e d t h e IMF
pecause t h e r e was no p o s s i b l e way t o balance t h e m u l t i p l e p u b l i c accounts
 g i v e n t h e l a c k o f t r a n s p a r e n c y . When an IMF team under Janet STOTSKY a r r i v e d
'•in EG t o p e r f o r m an A r t i c l e 4 C o n s u l t a t i o n , t h e IMF team r e q u e s t e d a f o r m a l '
 R a t i o n a l a c c o u n t i n g and f i s c a l a c c o u n t i n g be p e r f o r m e d o f a l l o f EG's
 accounts.
jp_WflWg» r e v i e w e d r e c o r d s t h a t i n d i c a t e d t h e P r e s i d e n t OBIANG w i t h d r e w money
 | r a m one o f t h e accounts and t h o s e funds where t h e n d e p o s i t e d i n t o an account
 i n France. fflDB_Bl c l a i m s t h a t s i n c e P r e s i d e n t OBIANG r e t a i n s c o n t r o l over t h e
 Country's f i n a n c e s g i v e r h i s power i n EG.
 j' •
4 f ^ _ l t d i d n o t examine t h e M i n i s t e r o f F o r e s t r y account .butl__I_t s a i d t h a t , t h e
 |MF A r t i c l e I V team l e d b y STOTSKY demanded t h a t t h e y be g i v e n access t o t h i s
 k c c o u n t a n d i t s d a t a . STOTSKY, as a r e s u l t , saw t h e b a l a n c e , as w e l l aa some
 ' a d d i t i o n a l i n f o r m a t i o n , r e l a t i n g t o t h i s account. P _ B B _ c l a i m s t h a t t h e r e was
 Q b i l l i o n U.S. d o l l a r s i n t h e o i l account (41660) a t t h e BEAC and t h e r e was
 an a d d i t i o n a l 6 b i l l i o n U.S. d o l l a r s i n t h e name o f t h e P r e s i d e n t o f EG
  o v e r s e a s . However, t h e M i n i s t e r o f F o r e s t r y account was n o t i n the Bank o f
  C e n t r a l A f r i c a a n d was i n a n o t h e r bank.
  t  i.
                                                                           •
 H S U f i ^ c l a i m s t h a t every M i n i s t e r i n EG has formed t h e i r ' own .company t o s e l l
•.goods and s e r v i c e s i n EG.                            saw s u b s t a n t i a l government c o n t r a c t s b e i n g
  .awarded f r o m t h e p u b l i c t r e a s u r y accounts m a i n t a i n e d a t t h e BEAC t o companies
  giwned by government m i n i s t e r s . For example, P r e s i d e n t OBIANG has h i s own
  C o n s t r u c t i o n company and b u i l t an apartment b u i l d i n g which was d e s i g n a t e d f o r
  foreign workers.                    F o r e i g n e r s would be charged an i n f l a t e d r a t e . A l t h o u g h t h e
  m o n t h l y r e n t f o r anyone e l s e would cost $2000, f o r e i g n e r s were charged $7000.
  'inis was j u s t a n o t h e r way f o r P r e s i d e n t OBIANG t o earn e x t r a money.
  A d d i t i o n a l l y , t h e M i n i s t e r o f F o r e s t r y c o n t r o l s a l l o f EG's e x p o r t s o f t i m b e r
   i n d l o g g i n g a n d t h e r e i s no o v e r s i g h t whatsoever over t h i s i n d u s t r y .
          \                                                                                             .          '

      if       a f o r e i g n company wanted t o do business i n EG they w o u l d have t o
      \
      \                              O F F I C I A L  USE     ONLY
      t H I S DOCUMENT I S LOANED TO YOU FOR-OFFICIAL USE ONLY AND REMAINS THE PROPERTY
      OF THE DEPARTMENT OF HOMELAND SECURITY, ICE. ANY FURTHER REQUEST FOR
      DISCLOSURE OF THIS DOCUMENT OR .INFORMATION CONTAINED HEREIN SHOULD BE REFERRED •
      TO ICE HEADQUARTERS TOGETHER WITH A COPY OF THE DOCUMENT.
                                                                                                            DOJ_0009211
           Case 2:11-cv-03582-GW-SS Document 88-6 Filed 05/03/13 Page 7 of 8 Page ID #:2250


F,

V                                            O F F I C I A L              USE         ONLY

               DEPARTMENT OF HOMELAND SECURITY                                         PAGE         6
                              ICE
                                                                                       CASE NUMBER MI02PR07MI0018
         R E P O R T   OF    I N V E S T I G A T I O N
                    C O N T I N U A T I O N                                            REPORT NUMBER: 071

p e r s o n a l l y know a-government o f f i c i a l o r t h e r e i s a b s o l u t e l y no way o f
o b t a i n i n g a government c o n t r a c t o r b u s i n e s s w i t h o u t an EG government o f f i c i a l
o e i n g i n v p l v e d . These government o f f i c i a l s were n o t r e s p o n s i b l e t o p u t any o f
                                                                                                        _   —
"EheTf "own cap~ltal3h~thes'e~'"busThess^                          They" werer'sb"lely~"used t"d resolve               ' ~
Problems f o r t h e f o r e i g n b u s i n e s s e s . There a r e no f o r m a l or t r a n s p a r e n t
processes o f a w a r d i n g ' p u b l i c c o n t r a c t s o t h e r t h a n knowing a government
official.             A l t h o u g h JMMSbwas n o t s u r e i f t h e r e was an a c t u a l r u l e r e q u i r i n g
f o r e i g n e r s - t o p a r t n e r w i t h EG n a t i o n a l s , i t 'was well-known t h a t f o r e i g n e r s
 6.ad t o f o r m j o i n t v e n t u r e s w i t h EG government o f f i c i a l s (or t h e i r f a m i l y
jiembers) i n o r d e r t o do (and g e t ) b u s i n e s s i n EG. F o r e i g n e r s p r o v i d e d
 government m i n i s t e r s and t h e i r f a m i l i e s ' w i t h s u b s t a n t i a l ownership r i g h t s
 and e q u i t y i n t h e s e j o i n t v e n t u r e s f o r f r e e . 'The EG n a t i o n a l w o u l d almost
 never p l a c e o r i n v e s t any o f h i s / h e r own c a p i t a l i n such a v e n t u r e .
 ' N o n e t h e l e s s , t h e y would be e n t i t l e d t o a s h a r e ' o f t h a t company's p r o f i t s and
 'revenue.

 The l a r g e s t c o n s t r u c t i o n company i n EG i s owned b y P r e s i d e n t OBIANG which i s
 a c o n s t r u c t i o n company.                           knew o f a 3 m i l e r o a d p r o j e c t between Malabo
                                                                                                1
 knd t h e a i r p o r t t h a t t o o k over 3 y e a r s t o complete. ^Mmff i n s i s t e d t h a t i t
 fras i n t h e b e s t f i n a n c i a l i n t e r e s t o f t h e c o n s t r u c t i o n company to' charge
 I n f l a t e d p r i c e s and s t a y on t h e j o b l o n g e r so t h a t b o t h t h e company and t h e
 EG o f f i c i a l w o u l d e a r n more money and c o l l e c t more payments f r o m t h e EG
 |ublic treasury.                      The l o n g e r a p r o j e c t t o o k complete, t h e more t h e c o n t r a c t o r
 fas p a i d .           There was an i n c e n t i v e t o p r o l o n g t h e s e t y p e s o f p r o j e c t s . <M_HI
 e x p l a i n e d - t h a t p u b l i c l y - f u n d e d i n f r a s t r u c t u r e and c o n s t r u c t i o n p r o j e c t s
 Seemed t o t a k e a n e x c e p t i o n a l l y l o n g t i m e t o complete (even c o n s i d e r i n g t h e
 ' l o g i s t i c a l ' c o n s t r a i n t s o f h a v i n g t o complete t h i s t y p e o f work i n an
 Undeveloped n a t i o n l i k e EG) .                             i n s i s t t h e P r e s i d e n t OBIANG i s a v e r y
 I n t e l l i g e n t p e r s o n whose main source o f income i s o i l . However, H H expressed
 |_£- c o n c e r n e d i f t h e c o u n t r y ' s money c o n t i n u e s t o be
 squandered. fl__BPwas u n f a m i l i a r w i t h t h e process o f customs and i m p o r t
 d u t i e s as              was a s s i g n e d t o t h e M i n i s t e r o f Finance.

 4 N M h c l a i m s t h a t c o r r u p t i o n s i s wide spread i n EG and c i t e d t h e f o l l o w i n g
 fexample: _H_1_I knew a f o r e i g n w o r k e r who was a t h e r home i n EG when s e c u r i t y
 "forces w h i c h i s l e d by P r e s i d e n t OBIANG's b r o t h e r ,            Armengol Ondo Nguema
 i > u r s t i n t o h e r home and a t gun p o i n t t o o k whatever money she had. T h i s t y p e
 i>f a c t i v i t y was commonplace and u s u a l l y o r c h e s t r a t e d b y the s e c u r i t y f o r c e s
 cin f o r e i g n .          h i m s e l f was a v i c t i m . o f s i m i l a r c r i m i n a l conduct whenfJHl
 |ome was b u r g l a r i z e d ' a n d 10 thousand Euros was t a k e n f r o m -Hp r e s i d e n c e .
dPHjRB l e f t EG i n                      t and had n o t r e t u r n e d s i n c e . 4__MMf d e s c r i b e Hjpi
 Experience as "not t o good."


     1
     si                              .
     :i                          O F F I C I A L   USE     ONLY
     THIS DOCUMENT I S LOANED TO YOU FOR OFFICIAL USE ONLY AND REMAINS THE PROPERTY
     ©F THE DEPARTMENT OF HOMELAND SECURITY,. ICE.- ANY FURTHER REQUEST-FOR
     DISCLOSURE OF THIS DOCUMENT OR INFORMATION CONTAINED HEREIN SHOULD BE REFERRED
     TO ICE HEADQUARTERS TOGETHER WITH A COPY OF THE DOCUMENT.
     {
     _                                                                                                          DO _0009212
             Case 2:11-cv-03582-GW-SS Document 88-6 Filed 05/03/13 Page 8 of 8 Page ID #:2251


                                          O F F I C I A L           USE         ONLY
v                DEPARTMENT OF HOMELAND SECURITY                                 PAGE      7
'.;                             ICE
;                                                                                CASE.NUMBER MI02PR07MI0018
:• ' R E P O R T      N V E S T I G A T I O N
                   OF I
3             C O N TIN U A T I 0 N                                              REPORT NUMBER: 071
'•I                                               •                                                         _
J P » a c l a i m s t h a t w h i l e i n EG Wm k e p t d e t a i l p e r s o n a l n o t e s d u r i n g a l l
m e e t i n g s a n d was w i l l i n g t o share t h e s e n o t e w i t h i n v e s t i g a t o r s .
' Tnve s t i g a t i o n ~c ontTnue s .




f:
    _




  'J
 "i
      i

 i'i
   t




 .\




                                      O F F I C I A L  USE    O'NLY
          THIS DOCUMENT I S LOANED TO YOU FOR OFFICIAL USE ONLY AND REMAINS THE PROPERTY
          QF THE DEPARTMENT OF HOMELAND SECURITY, ICE. ANY FURTHER REQUEST FOR •
          DISCLOSURE OF THIS DOCUMENT OR INFORMATION CONTAINED HEREIN SHOULD BE REFERRED
          i O ICE HEADQUARTERS TOGETHER WITH A COPY OF THE DOCUMENT.

                                                                                                      DO J_0009213
